Case 1:16-cV-01094-P.]G ECF No. 115 filed 11/01/18 PagelD.1787 Page 1 of 2

To: US District Court Western District of Michigan Southern Division

Attn.: Clerk FlLED - éR -
From: David K. Horr Novergf)i§i§igo§%l)au;f%p"w
Re: case 1;16-cv-01094-GJo-PJG WESTEUF§'.' 3.'§¥§.'§¥ °l’iT§H.
oate; october 30, 2018 BY'""L" S"“"E§llw'“/ \$

Enclosed please find several documents associated with the case with regard to
my contact and attempted contact with the plaintif'f's attorney of record. l'd like
these added to the case file simply as reference and documentation if that is
possible. Thank you so much in advance.

 

David K. Horr

 

US District Court
Western District of Michigan
Southern Division
399 Federal Bldg
110 Michigan St NW
Grand Rapids MI 49503

Attn. Clerk

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